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                                  CERTIFICATE OF SERVICE


                 I, David A. Carickhoff, hereby certify that on June 1, 2011, I caused copies of the

following document to be served on the parties listed on the attached service list in the manner

indicated.

                           SAMUEL ZELL’S MOTION FOR LEAVE
                           TO FILE A TWO-PAGE LETTER BRIEF



                                                      /s/ David W. Carickhoff
                                                     David W. Carickhoff (DE 3715)




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